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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

ALBERT G. HILL, III, Individually as a       §
Beneficiary of the Margaret Hunt Trust       §
Estate, Derivatively on behalf of the        §
Margaret Hunt Trust Estate, Individually     §
as a Beneficiary of the Haroldson            §
Lafayette Hunt, Jr. Trust Estate, and        §
Derivatively on behalf of the Haroldson      §
Lafayette Hunt, Jr. Trust Estate,            §      CIVIL ACTION NO. 07-CV-02020-O
                                             §
               Plaintiff,                    §
                                             §
v.                                           §
                                             §
TOM HUNT, et al.,                            §
                                             §
               Defendants.                   §


PLAINTIFF’S RULE 12(c) MOTION FOR JUDGMENT ON THE PLEADINGS AGAINST
    ALBERT G. HILL, JR. AND REQUEST FOR EXPEDITED CONSIDERATION

          ALONG WITH PLAINTIFF’S REMAINING RULE 12 OBJECTIONS


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW, ALBERT G. HILL, III, Plaintiff in the above-entitled and numbered

cause, and files this Rule 12(c) Motion for Judgment on the Pleadings Against Albert G. Hill, Jr.

and brief in support. Due to the limitation on multiple Rule 12 motions [FED. R. CIV. P.

12(g)(2)], within this pleading Plaintiff also submits his Remaining Rule 12 Objections in the

discrete subpart appearing below. With respect to the motion for judgment on the pleadings,

Plaintiff moves the Honorable Court for expedited consideration. Expedited consideration is not

being requested as to the remaining objections.




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                                             I.
                                       INTRODUCTION

       Pursuant to Rule 12(c) of the Federal Rules of Civil Procedure, Plaintiff Albert G. Hill,

III (“Hill III”) moves for judgment on the pleadings on Albert G. Hill, Jr.’s (“Hill Jr.”) Eleventh

Defense: Disclaimers Not Filed1 (“Probate Code Section 37A Defense”).2

       Hill Jr.’s Probate Code Section 37A Defense fails to state a legal defense and has already

been determined by the Court as a matter of law to be inapplicable to the disclaimers made the

basis of this action. Therefore, Plaintiff moves for partial judgment on the pleadings. To render

this partial judgment final and conclusive, Hill III further moves for certification of the judgment

pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.

       In the alternative, Hill III respectfully moves the Court to convert its March 14, 2010

Memorandum Opinion and Order (Doc. #611) into a partial summary judgment against Hill Jr.

on this same issue and render the partial summary judgment final and conclusive pursuant to

Rule 54(b) of the Federal Rules of Civil Procedure.3




       1
               Defendant Albert G. Hill, Jr.’s Answer to Plaintiff’s First Amended Complaint
(Doc. #674) at ¶¶ 58, 97-98.
       2
               See also, Plaintiff Albert G. Hill, III’s First Amended Complaint (Doc. #616) at ¶
251 (asserting that Texas Probate Code is inapplicable and cannot be asserted as a defense).
       3
               A district court may grant summary judgment against a movant even if the non-
movant has not filed a cross-motion. United States Cellular Corp. v. City of Wichita Falls, Texas,
364 F.3d 250, 259 (5th Cir. 2004); Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d 719,
730 (5th Cir. 2003); Landry v. G.B.A., 762 F.2d 462, 464 (5th Cir. 1985). See also FED. R. CIV.
P. 54(d)(2) (example of partial summary judgment).



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                                         II.
                              ARGUMENT AND AUTHORITIES

A.     Rule 12(c) Standards

       A Rule 12(c) motion for judgment on the pleadings is determined according to the same

standards as a Rule 12(b)(6) motion to dismiss.4 According to the Fifth Circuit:

       Rule 12(c) provides that “[a]fter the pleadings are closed but within such time as
       not to delay the trial, any party may move for judgment on the pleadings.” “A
       motion brought pursuant to Fed. R. Civ. P. 12(c) is designed to dispose of cases
       [or portions of cases] where the material facts are not in dispute and a judgment
       on the merits can be rendered by looking to the substance of the pleadings and
       any judicially noticed facts.” Hebert Abstract Co. v. Touchstone Props., Ltd., 914
       F.2d 74, 76 (5th Cir. 1990) (per curiam) (citing 5A Charles A. Wright & Arthur
       R. Miller, Federal Practice and Procedure § 1367, at 509-10 (1990)).5

Also according to the Fifth Circuit, district courts may, on a Rule 12(c) motion, enter partial

judgment as to a claim or defense and then certify the partial judgment as a final judgment.6

Indeed, this practice is widely endorsed by the circuits.7

B.     Hill Jr.’s Probate Code Section 37A Defense Fails as a Matter of Law

       Hill Jr. filed a motion for summary judgment on March 4, 2010, seeking a partial

summary judgment that Hill Jr. validly revoked his disclaimers before they were filed of record




       4
               Doe v. MySpace, Inc., 528 F.3d 413, 418 (5th Cir. 2008).
       5
               Great Plains Trust Company v. Morgan Stanley Dean Witter & Co., 313 F.3d
305, 312 (5th Cir. 2002).
       6
               See, e.g., Lee v. American Airlines Inc., 355 F.3d 386 (5th Cir. 2004) (affirming
The Honorable Jorge Solis, who “granted American Airlines partial judgment on the pleadings,
pursuant to Fed. R. Civ. P. 12(c), as to [particular] damages … [and] subsequently certified this
issue for appeal”).
       7
               See, e.g., DeMayo v. Nugent, 517 F.3d 11, 19 (1st Cir. 2008); Curran v. Cousins,
509 F.3d 36, 50 (1st Cir. 2007); Park Univ. Enterprises, Inc. v. Am. Cas. Co. of Reading, PA,
442 F.3d 1239, 1251 (10th Cir. 2006); Lee, 355 F.3d at 387; Felder v. Hyatte, 202 F.3d 273, 274
(7th Cir. 1999); Security Ins. Co. of Hartford v. Kevin Tucker & Associates, Inc., 64 F.3d 1001,
1009 (6th Cir. 1995).



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pursuant to section 37A of the Texas Probate Code.8 In its March 14, 2010 Memorandum

Opinion and Order (Doc. #611), this Honorable Court determined that Hill Jr.’s Probate Code

Section 37A Defense fails to state a legal defense and is inapplicable to the disclaimers made the

basis of this action. The Court ruled:

       In summary, the Trust Agreement is unambiguously silent on what procedure
       must be followed for disclaiming an interest in the Margaret Trust, and the Texas
       Trust Code therefore supplies the correct procedure. Even assuming, however,
       that the disclaimer procedures of the Probate Code were unambiguously
       incorporated into the Trust Agreement, there would still be no conflict between
       the Trust Agreement and Trust Code. Under either view, there is no conflict
       between the Trust Agreement and the Trust Code’s procedure to create an
       irrevocable disclaimer. Accordingly, under either view, an irrevocable disclaimer
       may be made according to the Trust Code. Al, Jr.’s 2005 Disclaimer was made
       irrevocable under the Trust Code, and his later attempt to revoke the document
       was of no effect.9

Accordingly, Hill III respectfully moves the Court enter partial judgment on the pleadings that:

(1) Hill Jr.’s Probate Code Section 37A Defense fails to state a legal defense and is inapplicable

to the disclaimers made the basis of Hill III’s claim to be declared a current beneficiary of the

Margaret Hunt Trust Estate and (2) even if section 37A of the Texas Probate Code is applicable

to the disclaimers, the Texas Property Code also provides a mechanism for disclaiming an

interest in the Margaret Hunt Trust Estate and that as such the disclaimers did not need to be

filed of record under the terms of the Probate Code.

       In the alternative, Hill III respectfully moves the Court convert its March 14, 2010

Memorandum Opinion and Order (Doc. #611) into a partial summary judgment against Hill Jr.




       8
               See Defendant Albert G. Hill, Jr.’s Motion for Partial Summary Judgment on the
Effectiveness of His Disclaimer (Doc. #590) at 1-2.
       9
               March 14, 2010 Memorandum Opinion and Order (Doc. #611) at 25.



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on this same issue and render the partial summary judgment final and conclusive pursuant to

Rule 54(b) of the Federal Rules of Civil Procedure.10

C.     Certification Pursuant to Rule 54(b)

       Hill III requests that the Court enter judgment against Hill Jr. on this issue and certify the

judgment as a final judgment pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.11

Rule 54(b) provides:

       When an action presents more than one claim for relief—whether as a claim,
       counterclaim, crossclaim, or third-party claim—or when multiple parties are
       involved, the court may direct entry of a final judgment as to one or more, but
       fewer than all, claims or parties only if the court expressly determines that there is
       no just reason for delay.12

            PRAYER ON MOTION FOR JUDGMENT ON THE PLEADINGS

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Albert G. Hill, III moves the Honorable

Court enter a partial judgment on the pleadings that Defendant Albert G. Hill, Jr.’s Probate Code

Section 37A Defense fails to state a legal defense and is inapplicable to the disclaimers made the

basis of this action. In the alternative, Plaintiff respectfully moves the Court convert its March

14, 2010 Memorandum Opinion and Order (Doc. #611) into a partial summary judgment against

Hill Jr. Plaintiff further moves the Court to certify the partial judgment, making the judgment

final and conclusive pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.


       10
               A district court may grant summary judgment against a movant even if the non-
movant has not filed a cross-motion. United States Cellular Corp. v. City of Wichita Falls, Texas,
364 F.3d 250, 259 (5th Cir. 2004); Benchmark Elecs., Inc. v. J.M. Huber Corp., 343 F.3d 719,
730 (5th Cir. 2003); Landry v. G.B.A., 762 F.2d 462, 464 (5th Cir. 1985).
       11
              See Brown v. Wichita County, 344 Fed. Appx. 1, *4 (5th Cir. 2009); Gray v.
Beverly Enters.-Miss., Inc., 390 F.3d 400, 404 (5th Cir. 2004).
       12
               FED. R. CIV. P. 54(b); Kelly v. Lee’s Old Fashioned Hamburgers, Inc., 908 F.2d
1218, 1220-21 (5th Cir. 1990) (en banc) (“We do not require the judge to mechanically recite the
words ‘no just reason for delay’” if the order otherwise “reflect[s] the court’s intent to enter the
judgment under Rule 54(b)”).



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                      PLAINTIFF’S REMAINING RULE 12 OBJECTIONS


        COMES NOW, ALBERT G. HILL, III, Plaintiff in the above-entitled and numbered

cause, and files this Plaintiff’s Remaining Rule 12 Objections subject to and without waiving

Plaintiff’s Motion to Strike Amended Affirmative Defenses and Counterclaims (## 671, 673, 674,

675, 676, 678, 683) for Failure to Obtain Leave of Court (Doc. #782), incorporated herein by

reference. Plaintiff further reserves the right, to the extent permitted by the Honorable Court, to

provide supplemental briefing on the below-detailed objections.

                                         I.
                             STANDARDS AND APPLICATION

        Federal Rule of Civil Procedure 12(f) permits the Court to strike an “insufficient defense”

as a matter of law and more fully provides that “[t]he court may strike from a pleading an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.”13 Further,

all of Defendants’ defensive pleadings should be pleaded so that they state a plausible, not just

possible, set of facts from which the defense could arise. In Ashcroft v. Iqbal, 556 U.S. ___, 129

S. Ct. 1937, 1950 (2009) and Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007), the

Supreme Court held that “a complaint must contain sufficient factual matter . . . to ‘state a claim

to relief that is plausible on its face.’”14 Thus, “mere conclusory statements” are not enough to

state a cause of action.15

        Federal Rule of Civil Procedure 9(b) by its terms applies to any allegation of fraud or

mistake. The rule states, “In alleging fraud or mistake, a party must state with particularity the

        13
              See United States v. Don B. Hart Equity Pure Trust, 818 F.2d 1246 (5th Cir.
1987) (applying Rule 12(f)).
        14
                Iqbal, 129 S. Ct. at 1949 (quoting Twombly, 550 U.S. at 570).
        15
                Id.



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circumstances constituting fraud or mistake.” The Fifth Circuit has articulated the requirements

of Rule 9(b) as follows:

        [T]he Rule 9(b) standards require specificity as to the statements (or omissions)
        considered to be fraudulent, the speaker, when and why the statements were
        made, and an explanation why they are fraudulent.16

District courts apply the pleading requirements of Rule 9(b) apply to estoppel.17

        Federal Rule of Civil Procedure 9(c) expressly requires particularity when a defendant

denies conditions precedent have occurred or been performed. Rule 9(c) states, “when denying

that a condition precedent has occurred or been performed, a party must do so with

particularity.”

A.      Defendants’ Unclean Hands Defense Should be Stricken

        Defendants’ unclean hands defense is insufficient as a matter of law for which reason it

should be stricken pursuant to Federal Rule of Civil Procedure 12(f). Unclean hands is an

equitable defense to a claim in equity.18 “‘The maxim that he who comes into equity must come

with clean hands is strictly an equitable doctrine, and does not apply in a suit that is not an




        16
                  Plotkin v. IP Axess, Inc., 407 F.3d 690, 696 (5th Cir. 2005).
        17
              See City of Clinton, Arkansas v. Pilgrim’s Pride Corp., 4:09-CV-386-Y (N.D.
Tex. 9-15-2009) (applied Rule 9(b) to promissory estoppel).
        18
                See Bank of Saipan v. CNG Financial Corp., 380 F.3d 836, 843 (5th Cir. 2004)
(“a plaintiff seeking equitable relief, once the affirmative defense [unclean hands] is raised, must
show that she has not contributed to the harm at issue”) (citing Truly v. Austin, 744 S.W.2d 934,
938 (Tex. 1988)); Adams v. First Nat’l Bank of Bells/Savoy, 154 S.W.3d 859, 876 (Tex. App. –
Dallas 2005, no pet.) (“The affirmative defense of ‘unclean hands’ requires that a party seeking
equity must come with clean hands.”); Sharma v. Vinmar Int’l, Ltd., 231 S.W.3d 405, 419 (Tex.
App. – Houston [14th Dist.] 2007, no pet.) (regarding appellants’ affirmative defense of unclean
hands, “A party seeking an equitable remedy such as an injunction, must do equity and come into
court with clean hands”) (citing Neeley v. West Orange-Cove Consol. Sch. Dist., 176 S.W.3d
746, 812 n. 82 (Tex. 2005)).



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equitable proceeding.’”19 Here, Hill III’s claim as to the validity and enforceability of the 2005

and 2007 Disclaimers as valid, irrevocable disclaimers or assignments sounds in contract, not

equity.

          In addition, even if unclean hands applied to Hill III’s claim as to the 2005 and 2007

Disclaimers, Defendants still face insurmountable problems with the defense. First, Defendants

cannot raise such a defense if they are guilty of inequitable conduct.20 For example, much of

Hill III’s case is based on Hill Jr. making false representations about his mental competency and

making false representations about his disclaimers, and as the Court is aware, at least Defendants

Tom Hunt and Ivan Irwin, Jr. were integrally involved in this misconduct. Hill Jr. should not

now be allowed to defend such conduct by accusing Hill III of alleged misconduct unrelated to

the claims in the case.

          Second, the alleged misconduct must relate to the substance of a party’s claim and must

seriously harm the defendant raising unclean hands as a defense.21 As the Fifth Circuit reasoned


          19
                Steubner Realty 19, Ltd. v. Cravens Road 88, Ltd., 817 S.W.2d 160, 164 (Tex.
App. – Houston [14th Dist.] 1991, no writ) (quoting Ligon v. E.F. Hutton & Co., 428 S.W.2d
434, 437 (Tex. App. – Dallas 1968, writ ref’d n.r.e.)); see also McMahan v. Greenwood, 108
S.W.3d 467, 494 (Tex. App. – Houston [14th Dist.] 2003, pet. denied) (citing Steubner Realty
19, Ltd. for same proposition).
          20
              See Regional Properties, Inc. v. Financial & Real Estate Consulting Co., 752
F.2d 178, 183 (5th Cir. 1985). In Regional Properties, the Fifth Circuit disallowed equitable
defenses because of the defendant’s failure to do equity:
          An equitable defense cannot be used to reward inequities nor to defeat justice.
          Westworth Village v. Mitchell, 414 S.W.2d 59, 60 (Tex. Civ. App. – Fort Worth
          1967, writ ref’d n.r.e.). Under the doctrine of unclean hands, he who commits
          inequity is not entitled to equitable relief. Harris v. Sentry Title Co., 715 F.2d 941,
          950 n. 6 (5th Cir. 1983); Omohundro v. Matthews, 161 Tex. 367, 341 S.W.2d 401,
          410 (1960); Cross v. Chem-Air South, Inc., 648 S.W.2d 754, 756 (Tex. App. –
          San Antonio 1983) (quoting Howard v. Richeson, 13 Tex. 553 (1855)); Grohn v.
          Marquardt, 657 S.W.2d 851, 855 (Tex. App. – Beaumont 1983 writ ref. n.r.e.).
          21
             Afri-Carib Enters., Inc. v. Mabon Ltd., 287 S.W.3d 217, 223 (Tex. App. –
Houston [14th Dist.] 2009, no pet.) (“The unclean hands doctrine should not be applied unless


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in Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Stidham, 658 F.2d 1098, 1102 n. 8 (5th Cir.

1981) in which Merrill Lynch sued for the loss of clients taken with a departed stockbroker who

had been actively recruited by the defendant, the fact that Merrill Lynch might allegedly be

guilty of the same conduct regarding other transactions (i.e., stealing stockbrokers and clients

from other brokerage houses) does not give rise to an unclean hands defense unless Merrill

Lynch was guilty of such conduct in the transaction made the basis of the lawsuit. The Fifth

Circuit stated –

       With regard to the question of “unclean hands,” defendants sought to introduce
       testimony that Merrill Lynch itself actively recruited experienced stockbrokers
       and that it was customary in the securities industry for stockholders to carry
       records with them from job to job. This argument is curious. Its suggestion is that
       breach of contract, with apparent impunity, is tolerated on a day to day basis in
       the securities industry, a suggestion which we doubt seriously. Moreover, even if
       such is the case Merrill Lynch’s alleged uncleanliness has not been asserted to
       involve the transaction at hand.22

Although the Fifth Circuit in Stidham relied on Georgia law, Texas law is the same,23 so Stidham

is just as applicable to Hill III’s case. Because Hill III’s alleged exploration of the possibility of

buying Hunt Petroleum Corporation never went anywhere – there was never an offer, let alone a

transaction – Defendants suffered no damage and thus have no defense of unclean hands.

       Moreover, Hill III did not even begin discussing a possible transaction for the sale of

Hunt Petroleum Corporation until after Hill Jr. had executed the 2005 Disclaimer, so Hill III’s

alleged conduct could not be causally connected to the 2005 Disclaimer.




the misconduct at issue is connected to the subject of the litigation and the party asserting the
defense has been seriously harmed by the misconduct”).
       22
               Merrill Lynch, Pierce, Fenner & Smith, Inc. v. Stidham, 658 F.2d 1098, 1102 n. 8
(5th Cir. 1981).
       23
               Afri-Carib Enters., Inc., 287 S.W.3d at 223.



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B.     Breach of Fiduciary Duty, Fraud and Estoppel Defenses Should be Stricken

       In addition to their failure to obtain leave of Court to plead breach of fiduciary duty and

fraud, those defenses together with Defendants’ estoppel defense fail because they are

insufficient to state a defense as a matter of law. All three of these affirmative defenses require

proof that the defendant was damaged or relied to his/her detriment in entering into the

transaction in question.

       For example, Hill Jr. newly pleaded breach of fiduciary duty as a defense to the 2005 and

2007 Disclaimers, asserting the alleged defense generally, as part of his estoppel defense, and as

a defense to the enforceability of the disclaimers as assignments.24 No case holds that breach of

fiduciary duty is a defense. This alleged defense is insufficient and should be stricken pursuant

to Rule 12(f). But even if it were a viable defense, Defendants have not pleaded each element,

nor can they prove each element.

       According to the Fifth Circuit, in applying Texas law:

       “The elements of a breach of fiduciary duty claim are: (1) a fiduciary relationship
       between the plaintiff and defendant; (2) the defendant must have breached his
       fiduciary duty to the plaintiff; and (3) the defendant’s breach must result in
       injury to the plaintiff or benefit to the defendant.”25

Defendants admit that Hill III’s alleged effort to participate in the purchase of HPC never came

to fruition. Defendants fail to plead – and it is not possible for them to plead – how they could

have been damaged from Hill III’s alleged effort to participate in the purchase of HPC. For these

reasons, Defendants’ breach of fiduciary duty defense should be stricken.




       24
               Hill, Jr.’s Answer, ¶¶ 71, 73, 80, 104.
       25
              Navigant Consulting, Inc. v. Wilkinson, 508 F.3d 277, 283 (5th Cir. 2007)
(quoting Jones v. Blume, 196 S.W.3d 440, 447 (Tex. App. - Dallas 2006, pet. denied) (emphasis
added)).



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       Similarly, Defendants’ defenses of fraud and estoppel both require elements of reliance

and damage, which did not occur and which have not been pleaded. The Fifth Circuit has stated:

       The elements of common law fraud are “(1) that a material representation was
       made; (2) the representation was false; (3) when the representation was made, the
       speaker knew it was false or made it recklessly without any knowledge of the
       truth and as a positive assertion; (4) the speaker made the representation with the
       intent that the other party should act upon it; (5) the party acted in reliance on the
       representation; and (6) the party thereby suffered injury.”26

The Fifth Circuit has also stated:

       The three elements of an equitable estoppel claim are: (1) a representation by
       conduct or word; (2) justifiable reliance thereon; and (3) a change in position to
       one’s detriment because of the reliance.27

Because Hill III did not mislead Hill Jr. or any other defendant, Defendants have not and cannot

plead a fraud or estoppel defense. Defendants were not injured and did not change their position

to their detriment based on anything attributable to Hill III. Moreover, Hill Jr. cannot avoid the

2007 Disclaimer on the grounds that he later became concerned about his son’s alleged spending

habits. This is no defense at all. Hill Jr. cannot allege a fraud or estoppel defense that factually

and causatively has no relation to the 2005 and 2007 Disclaimers.              These defenses are

insufficient as a matter of law for which reason they should be stricken.




       26
               United States ex rel. James H. Grubbs, M.D. v. Kanneganti, 565 F.3d 180, 188
(5th Cir. 2009) (citing Allstate Ins. Co. v. Receivable Fin. Co., 501 F.3d 398, 406 (5th Cir. 2007)
(interpreting Texas law).
       27
               Johnson v. Seacor Marine Corp., 404 F.3d 871, 878 (5th Cir. 2005) (citing Home
Ins. Co. v. Matthews, 998 F.2d 305, 309 (5th Cir. 1993)).



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C.     Table of Defenses and Objections

       For economy, Plaintiff here addresses the foregoing and remaining objectionable

defenses and counterclaims in tabular form.

       1.      Defendant Ivan Irwin, Jr.’s Answer to Plaintiff’s First Amended Complaint
               (Doc. #676)

       Plaintiff moves to strike the following affirmative defenses asserted by Defendant Irwin

for the reasons set forth below:

Affirmative Defense Paragraph Number              Basis for Motion
¶2: Attorney Immunity Doctrine                    Rule 12(f) – Insufficient Defense
¶3: Privity                                       Rule 12(f) – Insufficient Defense
¶6: PSLRA                                         Rule 12(f) – Insufficient Defense
¶7: Res Judicata                                  Rule 12(f) – Insufficient Defense
¶15: Unclean Hands                                Rule 12(f) – Insufficient Defense, Redundant,
                                                  Immaterial, Impertinent and/or Scandalous
                                                  Matter
¶16: Waiver, Estoppel, and Quasi-Estoppel         Rule 9(b) – Failure to Plead with Particularity
                                                  Rule 12(f) – Insufficient Defense
¶22: Incorporated by Reference                    Rule 12(f) – Insufficient Defense

Further, pursuant to Rule 12(b)(6) Plaintiff moves to dismiss Defendant Irwin’s claim for

attorneys’ fees under Tex. Civ. Prac. & Rem. Code § 37.009 for failure to state a claim for which

relief can be granted, as Defendant Irwin is not a party to a declaratory judgment action.

       2.      Defendant Heather Hill Washburne and Defendant Elisa Hill Summers’
               Answer to Plaintiff’s First Amended Complaint (Doc. # 678)

       Plaintiff moves to strike the following affirmative defenses asserted by Defendants

Washburne and Summer for the reasons set forth below:

Affirmative Defense Paragraph Number              Basis for Motion
¶2: Unclean Hands                                 Rule 12(f) – Insufficient Defense, Redundant,
                                                  Immaterial, Impertinent and/or Scandalous
                                                  Matter
¶3: Waiver                                        Rule 12(e) – Pleading is so Vague and
                                                  Ambiguous that Plaintiff cannot Reasonably
                                                  Prepare a Response and Moves for a More
                                                  Definite Statement



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¶4: Estoppel                                    Rule 9(b) – Failure to Plead with Particularity
                                                Rule 12(f) – Insufficient Defense
¶: Res Judicata                                 Rule 12(f) – Insufficient Defense
¶6: Collateral Estoppel                         Rule 12(f) – Insufficient Defense
¶13: Incorporated by Reference                  Rule 12(f) – Insufficient Defense

Further, pursuant to Rule 12(b)(6) Plaintiff moves to dismiss Defendants Washburne and

Summers’ claim for attorneys’ fees under Tex. Civ. Prac. & Rem. Code § 134.005 for failure to

state a claim for which relief can be granted, as Defendants have not asserted a claim against

Plaintiff under this statute.

        3.      Defendant Lyda Hill’s Original Answer to Plaintiff’s First Amended Complaint
                and CounterClaims for Declaratory Judgment (Doc. # 671)

        Plaintiff moves to strike the following affirmative defenses asserted by Defendant Lyda

for the reasons set forth below:

Affirmative Defense Paragraph Number            Basis for Motion
¶¶256-257: Unclean Hands                        Rule 12(f) – Insufficient Defense, Redundant,
                                                Immaterial, Impertinent and/or Scandalous
                                                Matter
¶¶258-259: Estoppel & Unclean Hands             Rule 9(b) – Failure to Plead Estoppel with
                                                Particularity
                                                Rule 12(f) – Insufficient Defense, Redundant,
                                                Immaterial, Impertinent and/or Scandalous
                                                Matter
¶267: Res Judicata                              Rule 12(f) – Insufficient Defense
¶279: Incorporated by Reference                 Rule 12(f) – Insufficient Defense

Further, Plaintiff moves to dismiss Defendant Lyda’s purported counterclaim for declaratory

relief pursuant to Rule 12(b)(6) for failure to state a claim for which relief can be granted,

because Defendant’s declaratory judgment counterclaim merely restates Defendant’s defenses to

Plaintiff’s causes of action.28


        28
              Albritton Props. v. Am. Empire Surplus Lines, Ins. Co., No. 3:04-CV-2531, 2005
U.S. Dist. LEXIS 7330, 2005 WL 975423, at *2 (N.D. Tex. Apr. 25, 2005) (granting Rule
12(b)(6) motion dismissing counterclaim for declaratory judgment where the disputed issues
were already pending before the court); and Kougl v. Xspedius Mgmt. Co. of Dallas/Fort Worth,


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       4.      Answer of William Herbert Hunt, Independent Executor of the Estate of Tom
               Hunt, to Plaintiff’s First Amended Complaint (Doc. # 673)

       Plaintiff moves to strike the following affirmative defenses asserted by the above named

Defendant for the reasons set forth below:

Affirmative Defense Paragraph Number            Basis for Motion
¶2: Unclean Hands                               Rule 12(f) – Insufficient Defense, Redundant,
                                                Immaterial, Impertinent and/or Scandalous
                                                Matter
¶¶4 & 5: Estoppel                               Rule 9(b) – Failure to Plead Estoppel with
                                                Particularity
                                                Rule 12(f) – Insufficient Defense
¶7: Res Judicata                                Rule 12(f) – Insufficient Defense

       5.      Trust Defendants’ Answer to Plaintiff’s First Amended Complaint (Doc. #683)

       Plaintiff moves to strike the following affirmative defenses asserted by the Trust

Defendants for the reasons set forth below:

Affirmative Defense Paragraph Number            Basis for Motion
¶3: Unclean Hands                               Rule 12(f) – Insufficient Defense, Redundant,
                                                Immaterial, Impertinent and/or Scandalous
                                                Matter
¶4: Estoppel                                    Rule 9(b) – Failure to Plead Estoppel with
                                                Particularity
                                                Rule 12(f) – Insufficient Defense
¶5(i): Leaking Confidential Information         Rule 12(f) – Immaterial & Insufficient Defense
¶6: Consent                                     Rule 12(f) – Insufficient Defense
¶6(i):Leaking Confidential Information          Rule 12(f) – Immaterial & Insufficient Defense
¶6(iv): Margaret and Hassie Consented           Rule 12(f) – Insufficient Defense
¶7: Ratification                                Rule 12(f) – Insufficient Defense
¶7(i):Leaking Confidential Information          Rule 12(f) – Immaterial & Insufficient Defense
¶7(iv): Margaret and Hassie Consented           Rule 12(f) – Insufficient Defense
¶14: Res Judicata                               Rule 12(f) – Insufficient Defense
¶15: Collateral Estoppel                        Rule 12(f) – Insufficient Defense




L.L.C., No. 3:04-CV-2518, 2005 U.S. Dist. LEXIS 10557, 2005 WL 1421446, at * 4 (N.D. Tex.
Jun. 1, 2005) (dismissing declaratory actions that sought resolution of matters already to be
resolved in the ongoing lawsuit); BHP Petroleum Co. v. Millard, 800 S.W.2d 838, 841 (Tex.
1990).



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       6.      Defendant Alinda Wikert’s Answer to Plaintiff’s First Amended Complaint
               (Doc. #675)

       Plaintiff moves to strike the following affirmative defenses asserted by Defendant Wikert

for the reasons set forth below:

Affirmative Defense Paragraph Number                Basis for Motion
¶7: Estoppel                                        Rule 9(b) – Failure to Plead Estoppel with
                                                    Particularity
                                                    Rule 12(f) – Insufficient Defense
¶8: Unclean Hands                                   Rule 12(f) - Insufficient Defense, Redundant,
                                                    Immaterial, Impertinent and/or Scandalous
                                                    Matter
¶12: Res Judicata                                   Rule 12(f) – Insufficient Defense
¶13: Collateral Estoppel                            Rule 12(f) – Insufficient Defense
¶14: Estoppel                                       Rule 9(b) – Failure to Plead Estoppel with
                                                    Particularity
                                                    Rule 12(f) – Insufficient Defense
¶24: Incorporated by Reference                      Rule 12(f) – Insufficient Defense

Further, Plaintiff moves to dismiss Defendant Wikert’s claim for attorneys’ fees under Tex. Civ.

Prac. & Rem. Code § 134.005 for failure to state a claim for which relief can be granted, as she

has not asserted a claim against Plaintiff under this statute.

       7.      Defendant Albert G. Hill, Jr.’s Answer to Plaintiff’s First Amended Complaint
               (Doc. #674)

       Plaintiff moves to strike the following affirmative defenses asserted by Hill Jr. for the

reasons set forth below:

Affirmative Defense Paragraph Number     Basis for Motion
¶¶2-19, 21-29: Insulting Al3 and Wife    Rule 12(f) – Insufficient Defense, Redundant,
                                         Immaterial, Impertinent and/or Scandalous
                                         Matter
¶30: Probate Court Argument Rejected by Rule 12(f) – Insufficient Defense
Court
¶¶33-47, 49-50                           Rule 12(f) – Insufficient Defense, Redundant,
                                         Immaterial, Impertinent and/or Scandalous
                                         Matter
¶¶54, 58: Rejected Probate Code Argument Rule 12(f) – Insufficient Defense
¶¶59-61                                  Rule 12(f) – Insufficient Defense, Redundant,
                                         Immaterial, Impertinent and/or Scandalous



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                                            Matter
¶¶62-69: Unclean Hands                      Rule 12(f) – Insufficient Defense, Redundant,
                                            Immaterial, Impertinent and/or Scandalous
                                            Matter
¶¶70-71: Fraud                              Rule 9(b) – Failure to Plead with Particularity
                                            Rule 12(f) – Insufficient Defense, Redundant,
                                            Immaterial, Impertinent and/or Scandalous
                                            Matter
¶¶72-73: Breach of Fiduciary Duty           Rule 12(f) – Insufficient Defense
¶¶78-81: Estoppel                           Rule 9(b) – Failure to Plead Estoppel with
                                            Particularity
                                            Rule 12(f) – Insufficient Defense
¶¶87-90: Res Judicata & Collateral Estoppel Rule 12(f) – Insufficient Defense
¶¶95-96: Rescission of Disclaimers          Rule 12(f) – Insufficient Defense
¶¶97-98: Rejected Probate Code Argument     Rule 12(f) – Insufficient Defense
¶¶99-100: Notarization Defense              Rule 12(f) – Insufficient Defense
¶¶103-104: Incorporates Above Affirmative Rule 12(f) – Insufficient Defense
Defense
¶107: Incorporated by Reference             Rule 12(f) – Insufficient Defense

Further, Plaintiff moves to dismiss Hill Jr.’s claim for attorneys’ fees under Tex. Civ. Prac. &

Rem. Code § 134.005 for failure to state a claim for which relief can be granted, as Defendants

have not asserted a claim against Plaintiff under this statute.

                    PRAYER ON REMAINING RULE 12 OBJECTIONS

       WHEREFORE, PREMISES CONSIDERED, Plaintiff Albert G. Hill, III requests the Court strike

Defendants’ defenses and counterclaims for the reasons set forth in Doc. #782 and herein.




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   Dated: April 16, 2010


   Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically with the
Clerk of Court using the CM/ECF system. As such, this document was served on all counsel who
are deemed to have consented to electronic service. All other counsel of record not deemed to
have consented to electronic service were served with a true and correct copy of the document on
April 16, 2010.

                                                     /s/ Stephen F. Malouf
                                                     Attorney for Plaintiff Albert G. Hill, III



                             CERTIFICATE OF CONFERENCE

         Pursuant to Local Rules 7.1(a) and (b), Plaintiff’s counsel advised Defendants’ counsel of
the relief sought in this Motion during the early morning of April 16, 2010 via email. Due to the
timing of the motion, this notice occurred very shortly before filing and most of Defendants’
counsel did not respond to the email conference either due to the timing of the email conference
or opposition. At the time of filing, counsel for Alinda Wikert advised that he is opposed to the
relief sought and the remaining Defendants are presumed to be opposed as well.


                                                     /s/ R. Dean Gresham
                                                     Attorney for Plaintiff Albert G. Hill III




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